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Attorney for Defendant KYLE RAGUSA


UNITED STATES OF AMERICA,                                ::       UNITED STATES DISTRICT COURT,
                                                                      DISTRICT OF NEW JERSEY
                   Plain tiff,

                   vs.                                                    CRIM. NO. 08—00327

KYLE RAGUSA,
                                                                        ORDER FOR EXTENSION
                   Pefendnt(.,)                                          OF SURRENDER DATE



                                                  opened to the Court by Peter 7{.                  Willis,
        TBI matter having been

Esg.,    of Willis &        Young,         P.C.    attorney for Kyle Ragusa,                 for an Order

              the        date       for    when    the        defendant    has     to    5urrender       frott
extending

             14,    2010        until      January       10,    2011    and     Paul    J.   Fishman,     the
Decern.ber

United    States     Attorney,            by Bohdan Vitvitsky,             Assistant         United States

Attorney,    appearing and consenting to                         Said   application,         and   for   good

cause shown,

        IT IS on this           -
                                      day of December, 201C

        ORDE that the Application is hereby GRANTED.




                                                                  Hon. Stariley R. Chesler, USY

I hereby consent to the
entry of the above order.




                                                                                                     TOThL P.03
